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             United States of America                                   p
                       v.                                              p     4d?p&Z p
                 Matthew Hunter Sharp;
                                                                        p
                   D.O.B.                                               p
                  Kenneth Jevon Hale                                    p
                    D.O.B.
                  Shaun Jason Marvin
                                                                        p
                   D.O.B.                                               p
                 Michael Lee Otis-Currie                                )
                   D.O.B.
                                         
                                                       
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On or about the date(s) of between on or about 10/1/2020 through 11/9/2020 in the county of                                        in the
                    District of            Columbia             , the defendant(s) violated:

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K% "  KJK&K           Matthew Hunter Sharp, Kenneth Jevon Hale, Shaun Jason Marvin, and Michael Lee Otis-Currie did
                                  knowingly distribute any child pornography as defined in 18 U.S.C. 2256(8), that has been mailed, or using
                                  any means or facility of interstate or foreign commerce shipped or transported in or affecting interstate or
                                  foreign commerce by any means, including computer

K% "  KJK&KK)K Matthew Hunter Sharp, Kenneth Jevon Hale, Shaun Jason Marvin, and Michael Lee Otis-Currie did
                                knowingly conspire together along with others to knowingly receive and distribute any child
                                pornography as defined in 18 U.S.C. 2256(8), that has been mailed, or using any means or facility of
                                interstate or foreign commerce shipped or transported in or affecting interstate or foreign commerce by
                                any means, including computer

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 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone this 6th day
 of January, 2021.

                                                                                                         Complainant's Signature

                                                                                                 Emily Eckert, Special Agent, FBIp
                                                                                                               
                                                                                                                      G. Michael
3e>ppp1/6/2021                                                                                                      Harvey
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Jenp3U<pce3e>p                        25dIMXFf[Xp   p                        G. Michael Harvey, United States Magistrate Judge
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